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                                   TENTATIVE RULING

                         ISSUED BY JUDGE LAURA S. TAYLOR




 Bankruptcy Case Name:          BORREGO COMMUNITY HEALTH FOUNDATION,

 Bankruptcy Number:             22-02384-LT11

 Hearing:                       05/02/2023 10:00 AM

 Motion:                        FIRST INTERIM APPLICATION FOR ALLOWANCE AND
                                PAYMENT OF INTERIM COMPENSATION AND
                                REIMBURSEMENT OF EXPENSES FILED BY:
                                PACHULSKI STANG ZIEHL & JONES



 The Court reviewed the first interim application for fees and costs of Pachulski Stang
 Ziehl & Jones (“Firm”) dated April 4, 2023, (the "Application") and finds it appropriate as
 to form and content. The Court reviewed the Docket and determined that no opposition
 was filed. Therefore, the Court grants the Application and awards interim fees and
 costs as follows:

 Fees for period September 30, 2022, through January 31, 2023: $276,106.50

 Fees for period September 30, 2022, through January 31, 2023: $3,842.50

 The Court thanks the Firm for its work on behalf of the Official Committee of Unsecured
 Creditors. Attendance at the hearing scheduled for May 2, 2023, at 10:00 a.m. is
 excused, and the Firm may submit its order forthwith.
